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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    Miami Division

 MARTA REYES; LAWRENCE WOOD; et al.,
 on behalf of themselves                                CASE NO. 1:20-cv-21108-UU
 and all those similarly situated,                      HON. URSULA UNGARO

              Plaintiffs,                               CLASS ACTION

 v.

 PEOPLE’S REPUBLIC OF CHINA;
 COMMUNIST PARTY OF CHINA; et al.,

 Defendants.
 _____________________________________/

                 STATUS REPORT PURSUANT TO COURT’S ORDERS

       Plaintiffs, by and through undersigned counsel, hereby provide the Court with a

 Status Report pursuant to the Court’s April 23, 2020 Order, which requires Plaintiffs to

 file a status report every fifteen days, [DE 10], and which was re-affirmed by the Court in

 its August 19, 2020 Order. [DE 92].

       Since the last status report of August 11, 2020, there are no further updates on

 the status of the service package that has been delivered to Beijing. Undersigned

 continues to regularly inquire with our service vendor, Judicial Process and Support, as

 to any developments.

       Respectfully submitted this 26th day of August, 2020.

                                   By: /s Matthew T. Moore
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                                   Vincent J. Duffy, Esq.
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                                                              CASE NO. 1:20-cv-21108-UU


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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been filed this

 August 26, 2020, with the Court’s CM/ECF filing system, which shall cause an email

 notice to be sent to all parties of record in this matter.



                                     By: /s Matthew T. Moore
                                     Matthew T. Moore, Esq.
                                     Fla. Bar No. 70034
